      Case 3:21-cv-00259-DCG-JES-JVB Document 147 Filed 01/18/22 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN                    §
 CITIZENS, et al.,                                  §
    Plaintiffs,                                     §
                                                              Case No. 3:21-cv-259-DCG-JES-JVB
                                                    §
                                                                          [Lead Case]
 v.                                                 §
                                                    §
 GREG ABBOTT, et al.,                               §
   Defendants.                                      §

 DAMON JAMES WILSON,                                §
   Plaintiff,                                       §
                                                    §
                                                                Case No. 1:21-cv-943-RP-JES-JVB
 v.                                                 §
                                                                      [Consolidated Case]
                                                    §
 THE STATE OF TEXAS, et al.,                        §
    Defendants.                                     §


                            DEFENDANTS’ REPLY SUPPORTING THEIR
                   MOTION TO STRIKE OR DISMISS WILSON’S AMENDED COMPLAINT

         This Court has already held that Plaintiff Wilson lacks standing. See ECF 63. His latest filings

provide no reason to revisit that ruling. Conclusory assertions about absent third parties cannot

establish standing, especially in a voting-rights case brought by a non-voter. Defendants respectfully

request that the Court grant their motion to strike or dismiss. See ECF 112.

                                              ARGUMENT

I.       Wilson Articulates No Basis for Standing

         This Court granted Defendants’ first motion to dismiss based on Wilson’s lack of standing:

“Because Wilson has no voting power to diminish, and because he points to no other concrete injury-

in-fact, this Court lacks jurisdiction to consider his claim.” ECF 63 at 3. As a non-voting felon, Wilson

“has no ‘voting power’ to dilute.” Id. at 2. And though he may be interested in “federal policy debates,”

Wilson has not plausibly alleged that his “ability to influence or benefit from federal policy is any less

than it would be if he were considered a resident of the district where he is domiciled.” Id.
      Case 3:21-cv-00259-DCG-JES-JVB Document 147 Filed 01/18/22 Page 2 of 4



         Wilson’s amended complaint does nothing to cure this jurisdictional defect because Wilson

does not and cannot plausibly allege that the new congressional map injures him. Wilson complains

that the congressman representing the area where he is allegedly domiciled will not be sufficiently

responsive, but that speculative assertion has nothing to do with the challenged map. For example,

Wilson worries that this hypothetical future congressman will treat Wilson as being domiciled

elsewhere, see ECF 86 at 15–16, despite Wilson’s insistence that he is domiciled in that district. Wilson

alleges no facts suggesting this will actually happen, much less that it will happen because of a

redistricting map that says nothing about Wilson’s domicile. See ECF 112 at 5; ECF 44 at 3.

         Similarly, Wilson suggests he will not receive communications from the congressman he

prefers because a federal statute prohibits use of the “franking” privilege to “send any mass mailing

outside the congressional district from which the Member was elected.” 39 U.S.C. § 3210(a)(7); see

ECF 86 at 17. But that prohibition turns on the address to which the mail is sent, not the domicile of

the recipient. It does not establish that the new congressional map injures Wilson.

         Nor does Wilson allege any relationship between a congressman’s responsiveness and any

concrete interest affected by federal policy. That independently precludes standing. See ECF 112 at 6–

7; ECF 44 at 4–5. Wilson offers no response to this point. 1

II.      Wilson Does Not State a Claim on the Merits

         On the merits, Wilson acknowledges that various precedents undermine his claim. See ECF

134 at 13–14. “[T]here is no federal requirement” that Texas “count . . . prisoners as residents of

whatever county they lived in prior to incarceration.” Perez v. Texas, No. 5:11-cv-360, 2011 WL

9160142, at *12 (W.D. Tex. Sept. 2, 2011). The Perez court could not find “any case where any court



1 Wilson does not substantively respond to Defendants’ traceability, redressability, or immunity arguments. See ECF 134

at 14–15. A conclusory assertion that “that the State of Texas, for whom [Defendants] act in an official capacity, is
responsible for the conduct about which Plaintiff complains” does not establish jurisdiction to sue the State, which is not
a party, much less jurisdiction to sue the officials named here. Id. at 15. As Defendants previously explained, Wilson does
not allege that they have enforcement roles that affect the responsiveness of federal congressmen. See ECF 112 at 12–15.


                                                            2
   Case 3:21-cv-00259-DCG-JES-JVB Document 147 Filed 01/18/22 Page 3 of 4



has concluded that such prison counts violate the mandates of the one person, one vote principle.”

Id. at 25. No such opinion has come out since then.

       Wilson relies on Evenwel v. Abbott, 578 U.S. 54 (2016), but it does not help him. In that case,

the Supreme Court held that a State may draw legislative districts based on total population rather

than eligible-voting population because “‘the Constitution’s plain objective’” for the House of

Representatives is “‘equal representation for equal numbers of people,’” id. at 68 (quoting Wesberry v.

Sanders, 376 U.S. 1, 18 (1964)). Wilson does not claim that he is not being counted or that districts do

not have equal numbers of people. He just does not like where he was allegedly counted, an issue

Evenwel does not address.

       Wilson also argues that his claims are different than the claims Perez rejected ten years because

the Perez plaintiffs “were ‘voters,’ not a prison inmate who was ineligible to vote[.]” ECF 134 at 14.

True, but those plaintiffs made the same claim that Wilson makes: that the population of various

districts should be adjusted based on the “misapplication of the prison population[.]” 2011 WL

9160142, at *12. The Court rejected that claim then for the same reason it must be rejected on the

merits here: “the U.S. Census Bureau counts” prisoners as the residents of the place where they are

incarcerated, and “the Texas Constitution requires use of the census count as the basis for

redistricting.” Id. Moreover, that the Perez plaintiffs were voters makes Wilson’s complaint weaker, not

stronger. The Perez plaintiffs were alleging that the strength of their votes was being diluted. Wilson

cannot make a similar allegation. See ECF 63 at 2.

III.   Wilson Has Abandoned His Claims Against the Speaker and the Lieutenant Governor

       Wilson does not dispute that the Court should dismiss his claims against Speaker Phelan and

Lieutenant Governor Patrick. On the contrary, his response “abandons his claims” against those

defendants. ECF 134 at 16. Because Wilson has not amended his complaint to drop them as




                                                     3
   Case 3:21-cv-00259-DCG-JES-JVB Document 147 Filed 01/18/22 Page 4 of 4



defendants, however, the Court should dismiss the claims against Speaker Phelan and Lieutenant

Governor Patrick.

                                              CONCLUSION

        Defendants respectfully request that the Court dismiss Wilson’s claims for lack of subject-

matter jurisdiction or failure to state a claim.


Date: January 18, 2022                              Respectfully submitted.

KEN PAXTON                                          /s/Patrick K. Sweeten
Attorney General of Texas                           PATRICK K. SWEETEN
                                                    Deputy Attorney General for Special Litigation
BRENT WEBSTER                                       Tex. State Bar No. 00798537
First Assistant Attorney General
                                                    WILLIAM T. THOMPSON
                                                    Deputy Chief, Special Litigation Unit
                                                    Tex. State Bar No. 24088531

                                                    ERIC A. HUDSON
                                                    Senior Special Counsel, Special Litigation Unit
                                                    Tex. State Bar No. 24059977

                                                    OFFICE OF THE ATTORNEY GENERAL
                                                    P.O. Box 12548 (MC-009)
                                                    Austin, Texas 78711-2548
                                                    Tel.: (512) 463-2100
                                                    Fax: (512) 457-4410
                                                    patrick.sweeten@oag.texas.gov
                                                    will.thompson@oag.texas.gov
                                                    eric.hudson@oag.texas.gov

                                                    COUNSEL FOR DEFENDANTS

                                       CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on January 18, 2022, and that all counsel of record were served by CM/ECF.

                                                   /s/Patrick K. Sweeten
                                                   PATRICK K. SWEETEN




                                                      4
